         Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 1 of 12
                                                                                    Electronically Filed
                                                                                    9/4/2020 6:56 PM
                                                                                    Steven D. Grierson
     MODR                                                                           CLERK OF THE COURT

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 5   Attorney for Plaintiff
 6
                              EIGHTH JUDICIAL DISTRICT COURT
 7                                CLARK COUNTY, NEVADA

 8    Ciara Williams,
                                                       CASE NO: A-18-784031-C
 9
                     Plaintiff,                        Dept. No.: IV
10

11    Silvino Hinojosa, and TOPGOLF                      PLAINTIFF’S MOTION FOR AN
      USA Las Vegas, LLC, DOES 1                        ORDER EXTENDING TIME TO FILE
12
      through X, inclusive, and ROES                        AMENDED COMPLAINT
13    through X, inclusive
                                                              NO HEARING REQUESTED
14
                     Defendants.
15

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18
            Plaintiff Ciara Williams, by and through her counsel, The Legal Offices of James J. Lee,
19
     moves for an Order from the Court extending time to file her proposed Third Amended
20
     Complaint. This motion is based on Rule 6(b)(1) of the Nevada Rules of Civil Procedure.
21
                                     Facts and Procedural History
22
            On August 5, 2020 this Court issued a Minute Order granting Plaintiff’s unopposed
23
     Motion for Leave to Amend her complaint and add TopGolf International d/b/a TopGolf
24
     Entertainment Group (“TopGolf International”) as a Roe Corporation Defendant. The proposed
25
     Third Amended Complaint contains a cause of action grounded on Title VII, which raises a
26
     federal question and gives TopGolf International an opportunity to file a petition for removal to
27
     federal court. Whether it stays in federal court remains to be seen.
28
                             MOTION FOR ORDER EXTENDING TIME - 1




                                           Case Number: A-18-784031-C
         Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 2 of 12



            In a telephonic meet and confer on August 26, 2020 between counsel for Plaintiff and
 1
     Defendant TopGolf Las Vegas, LLC (“TopGolf LV”), TopGolf LV’s counsel disclosed they
 2
     would most likely represent TopGolf International once it was added as a defendant in this action,
 3

 4
     and that they intended to remove the case to federal court as soon as possible.

 5          The August 5, 2020 Minute Order also requested counsel to prepare the Order granting

 6   Plaintiff’s motion to amend in accordance with EDCR 7.21. TopGolf LV drafted a proposed

 7   Order Granting Plaintiff’s Motion to Amend Complaint (attached as Exhibit 1) which imposed a

 8   deadline of five days after the execution of the order for Plaintiff to file her proposed Third

 9   Amended Complaint. On August 21, 2020, while the parties were in depositions, and on August
10   26, 2020, during the aforementioned meet and confer, Plaintiff’s counsel explained his objections
11   to TopGolf LV’s proposed order and its imposed five-day deadline. The parties are currently
12   engaged in discovery with depositions of two important witnesses, Natalie Pueblas and Elba
13   Servin, scheduled for September 14, 2020, and Plaintiff’s deposition scheduled for September 16,
14   2020. Plaintiff’s objections to the five-day time limit to file her amended complaint are due to the
15
     delay in discovery that removal to federal court will cause. Removal will immediately divest this
16
     Court of jurisdiction and indefinitely delay the above referenced depositions as the parties are
17
     required by federal procedure to await TopGolf International’s answer to the complaint, engage
18
     in a discovery conference, file a discovery plan, and await affirmation of the plan through a
19
     scheduling order from the court before they can continue to engage in discovery.
20
            Both Plaintiff and TopGolf LV have expressed their desire in the above referenced
21
     conferences for Plaintiff’s deposition to proceed as scheduled, as it has already been delayed due
22
     to COVID-19 and because Plaintiff recently required medical treatment in Arizona that rendered
23
     her unable to attend proceedings. Plaintiff has also expressed her interest in the depositions of
24
     Natali Pueblas and Elba Servin proceeding as scheduled, as Plaintiff is informed and believes that
25
     one or both of the witnesses may become permanently unavailable during the time that the case
26
     is removed to federal court and discovery is put on hold.
27

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                             MOTION FOR ORDER EXTENDING TIME - 2
         Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 3 of 12



            Pueblas is expected to testify that she was sexually harassed by Defendant Silvino
 1
     Hinojosa during her employment at TopGolf LV, that she knew of the harassment Plaintiff
 2
     endured while at TopGolf LV, and that it was common knowledge among female staff that
 3

 4
     TopGolf LV did nothing to protect employees from sexual harassment. Servin is expected to

 5   testify that she was sexually harassed by Defendant Silvino Hinojosa (“Hinojosa”) and filed a

 6   formal written complaint against him with TopGolf LV Human Resources, who failed to conduct

 7   or involve her in an investigation of her complaint and took no action to protect her. She is further

 8   expected to testify that she knew that Plaintiff endured sexual harassment by Defendant Hinojosa.

 9          Despite these concerns, which were expressed in detail to TopGolf LV’s counsel, TopGolf
10   LV refuses to amend its proposed Order and allow Plaintiff additional time to file her Third
11   Amended Complaint so that the depositions can proceed as scheduled. Plaintiff has requested that
12   she be allowed 30-days from the date of her deposition to file the amended complaint.
13   Accordingly, on August 27, 2020, TopGolf LV submitted a letter to this Court with its proposed
14   Order allowing Plaintiff only five days to file her amended complaint. Due to the inability for the
15
     parties to agree on a proposed order, Plaintiff now moves for an order from this Court granting
16
     her at least 30-days after the date of her deposition to file her Third Amended Complaint. Attached
17
     as Exhibit 2 is Plaintiff’s proposed Order.
18
                               Memorandum of Points and Authorities
19
            Nevada Rules of Civil Procedure (NRCP) Rule 6(b)(1) provides that in the absence of a
20
     stipulation of the parties for an extension of time, the court may, for good cause, extend the time
21
     if a request is made before the original time or its extension expires. In this case, there is no rule
22
     that Plaintiff could find which would impose a certain deadline to file her proposed amended
23
     complaint. In fact, it is only TopGolf LV who has imposed an arbitrary deadline of five days.
24
     There is good cause to provide Plaintiff an extension of time from TopGolf LV’s proposed
25
     deadline because, as described above, the already scheduled depositions of important fact
26
     witnesses will be indefinitely delayed by TopGolf International’s removal of this action to federal
27

28
     court. Moreover, Plaintiff is informed and believed that essential testimony may be permanently
                              MOTION FOR ORDER EXTENDING TIME - 3
         Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 4 of 12



     lost during the time it will take for discovery to recommence after removal to federal court. In
 1
     contrast, TopGolf LV’s counsel, who does not yet represent TopGolf Entertainment, cannot
 2
     articulate any prejudice that would arise from Plaintiff’s requested extension of time.
 3

 4
            NRCP 27 allows a party to preserve deposition testimony before an action is filed where

 5   perpetuating testimony may prevent a failure or delay of justice, because of, for example, the risk

 6   that a witness may become unavailable. This motion is not grounded on Rule 27 because this

 7   action has been filed, but the rule gives expression to the underlying principle that substantial

 8   justice depends on trying cases on their merits and that the court may exercise its discretion to

 9   ensure that such justice is done. Here, Plaintiff is informed and believes that two fact witnesses
10   may become unavailable during the period of indefinite delay in discovery that will arise from
11   removal and the immediate divestment of this Court’s jurisdiction over this action, In order to
12   prevent a failure or delay in justice, the depositions should proceed as scheduled and Plaintiff
13   should be allowed 30 days after her deposition is completed to file her Third Amended Complaint.
14
            DATED this 4th day of September, 2020.
15

16                                                 LEGAL OFFICES OF JAMES J. LEE
17
                                                   /s/ James J. Lee
18
                                                   James J. Lee
19                                                 Nevada Bar No. 1909
                                                   2620 Regatta Drive #102
20                                                 Las Vegas, NV 89128
                                                   Attorney for Plaintiff
21

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                             MOTION FOR ORDER EXTENDING TIME - 4
         Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 5 of 12



                                       NOTICE OF MOTION
 1
            PLEASE TAKE NOTICE that the undersigned counsel will bring PLAINTIFF’S
 2
     MOTION FOR ORDER EXTENDING TIME on for hearing before Department IV of this
 3

 4
     Court on the ____ day of ____________, 2020, at the hour of _____ a.m./p.m., or as soon

 5   thereafter as the matter may be heard.

 6          DATED this 4th day of September, 2020.
 7                                              LEGAL OFFICES OF JAMES J. LEE
 8

 9
                                                /s/ James J. Lee
                                                James J. Lee
10                                              Nevada Bar No. 1909
                                                2620 Regatta Drive #102
11                                              Las Vegas, NV 89128
12
                                                Attorney for Plaintiff Ciara Williams

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                             MOTION FOR ORDER EXTENDING TIME - 5
Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 6 of 12




                   EXHIBIT 1
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 7 of 12




                                                                                           1   OGM
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                                                                                               suzanne.martin@ogletreedeakins.com
                                                                                           3
                                                                                               ERICA J. CHEE
                                                                                           4   Nevada Bar No. 12238
                                                                                               erica.chee@ogletreedeakins.com
                                                                                           5   OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                               Wells Fargo Tower, Suite 1500
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                                                                                               Las Vegas, NV 89169
                                                                                           7
                                                                                               Telephone: 702.369.6800
                                                                                           8   Fax: 702.369.6888

                                                                                           9   Attorneys for Defendant
                                                                                               TopGolf USA Las Vegas, LLC
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          10

                                                                                          11                                EIGHTH JUDICIAL DISTRICT COURT

                                                                                          12                                        CLARK COUNTY, NEVADA
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   CIARA WILLIAMS,                                   Case No.: A-18-784031-C
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                                                                                 Dept. No.: IV
                                                                                          14                           Plaintiff,
                                                                                          15   vs.                                                 ORDER GRANTING PLAINTIFF’S
                                                                                          16                                                       MOTION TO AMEND COMPLAINT
                                                                                               SILVINO HINOJOSA, AND TOPGOLF USA
                                                                                          17   LAS VEGAS, LLC, DOES 1 through X,
                                                                                               inclusive AND ROES through X, inclusive,
                                                                                          18
                                                                                                                       Defendants.
                                                                                          19

                                                                                          20
                                                                                                      Plaintiff’s Motion to Amend Complaint (“Motion”) having come on before the Court for an
                                                                                          21
                                                                                               in camera hearing, Defendant TopGolf USA Las Vegas, LLC’s Notice of Non-Opposition to
                                                                                          22
                                                                                               Plaintiff’s Motion to Amend Complaint thereto having been filed pursuant to EDCR 2.20(e), and a
                                                                                          23
                                                                                               Minute Order having been issued granting the Motion and directing Counsel to prepare the Order,
                                                                                          24
                                                                                               good cause appearing,
                                                                                          25
                                                                                               ...
                                                                                          26
                                                                                               ...
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                                                                                               ...
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                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 8 of 12




                                                                                           1          IT IS HEREBY ORDERED that Plaintiff’s Motion to Amend Complaint is hereby

                                                                                           2   GRANTED.

                                                                                           3          IT IS FURTHER ORDERED that the Amended Complaint be filed or deemed filed within

                                                                                           4   five days of the execution of this Order.

                                                                                           5          DATED this ______ day of August, 2020.

                                                                                           6

                                                                                           7                                               _________________________________________
                                                                                                                                           DISTRICT COURT JUDGE
                                                                                           8

                                                                                           9   Respectfully submitted by:
                                                                                          10
                                                                                               OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11

                                                                                          12
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                               Suzanne Martin, Nevada Bar No. 8833
                                                                                          13   Erica J. Chee, Nevada Bar No. 12238
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                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14
                                                                                               Las Vegas, Nevada 89169
                                                                                          15   Attorneys for Defendant TopGolf USA Las Vegas, LLC

                                                                                          16

                                                                                          17   Approved as to form and content:
                                                                                          18   LEGAL OFFICES OF JAMES J. LEE
                                                                                          19
                                                                                          20
                                                                                               James J. Lee
                                                                                          21   Nevada Bar No. 1909
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                                                                                          22   Las Vegas, NV 89128
                                                                                               Attorney for Plaintiff
                                                                                          23

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Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 9 of 12




                   EXHIBIT 2
        Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 10 of 12


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 5   Attorney for Plaintiff
 6
                              EIGHTH JUDICIAL DISTRICT COURT
 7                                CLARK COUNTY, NEVADA

 8    Ciara Williams,
                                                     CASE NO: A-18-784031-C
 9
                     Plaintiff,                      Dept. No.: IV
10

11    Silvino Hinojosa, and TOPGOLF                   ORDER GRANTING PLAINTIFF’S
      USA Las Vegas, LLC, DOES 1                      MOTION TO AMEND COMPLAINT
12
      through X, inclusive, and ROES
13    through X, inclusive

14
                     Defendants.
15

16

17

18
            Plaintiff’s Motion to Amend Complaint (“Motion”) having come on before the Court
19
     for an in camera hearing, Defendant TopGolf USA Las Vegas, LLC’s Notice of Non-
20
     Opposition to Plaintiff’s Motion to Amend Complaint thereto having been filed pursuant to
21
     EDCR 2.20(e), and a Minute Order having been issued granting the Motion and directing
22
     Counsel to prepare the order, good cause appearing,
23
            IT IS HEREBY ORDERED that Plaintiff’s Motion to Amend Complaint is hereby
24
     GRANTED.
25
            IT IS FURTHER ORDERED that the Amended Complaint be filed or deemed filed
26
     within 30 days of the completion of Plaintiff Ciara Williams’ deposition.
27
            DATED this ______ day of September, 2020.
28
                                   ORDER GRANTING MOTION - 1
        Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 11 of 12



 1
                                              ____________________________________
 2                                            DISTRICT COURT JUDGE
 3
     Respectfully Submitted by:
 4
     LEGAL OFFICES OF JAMES J. LEE
 5

 6
     /s/ James J. Lee
 7   James J. Lee, Esq.
     Nevada Bar No. 1909
 8   2620 Regatta Drive, Suite 102
     Las Vegas, NV 89128
 9
     Attorney for Plaintiff
10

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                                     ORDER GRANTING MOTION - 2
        Case 2:20-cv-01871-RFB-NJK Document 14-13 Filed 11/06/20 Page 12 of 12



 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that, pursuant to NEFCR 9(A), I electronically transmitted the

 3   foregoing PLAINTIFF’S MOTION FOR ORDER EXTENDING TIME TO FILE

 4   AMENDED COMPLAINT to the Clerk’s Office using the electronic filing process for the

 5   Eighth Judicial District Court to the following registrant:
            Suzanne L. Martin
 6
            Erica J. Chee
 7          Pursuant to NRCP 5(b), I hereby further certify that on this date, service of the
 8
     foregoing was also made by depositing a true and correct copy of same for mailing, first class
 9
     mail, postage prepaid thereon, at Las Vegas, Nevada, to the following:
10
            Silvino Hinojosa, ID #01722886
11          Clark County Detention Center
12          330 S. Casino Center Boulevard
            Las Vegas, NV 89101-6102
13

14          DATED this 4th day of September 2020
15

16                                                         /s/ Isabella Lee
                                                           An employee of The Legal Offices
17                                                         of James J. Lee
18

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                             MOTION FOR ORDER EXTENDING TIME - 6
